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TRULINCS 54652509 - PARVIZ, MAHSA - Unit: SET-D-A

UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON -
SEATTLE
CLERK US, DISTRICT COUR

COURT
JASMIN JETTA TAPIA, Cause No. 2:23-cv-01531-BUR-BATP (STRICT OF wasHineToN
Petitioner,
Vv. PETITIONER'S REPLY TO RESPONDENTS’ REQUESTS (Dkt. 6, 9);
PETITIONER'S OBJECTIONS TO THE R&R (Dkt. 12);
HOWARD BARRON, EX PARTE MOTION FOR APPOINTMENT OF COUNSEL

Respondent. |

COMES NOW, Petitioner JASMIN JETTA TAPIA and files PETITIONER'S REPLY TO RESPONDENTS' REQUESTS (Dkt. 6,
9); PETITIONER'S OBJECTIONS TO THE R&R (Dkt. 12); and moves this honorable Court, on an ex parte basis, for
appointment of counsel pursuant to 18 .S.C. Sec. 3006A and this Court's inherent authority.

I. BACKGROUND

1.1. On October 12, 2023, Petitioner filed the instant action under 28 U.S.C. Sec. 2241 seeking his FSA credits from the BOP
(Dkt. 3). An Order Directing Service, Retum & Brief issued by the Hon. Brian A. Tsuchida on the same day (Dkt. 4) and AUSA
Lyndsie Rebecca Schmalz entered an appearance on behalf of Respondents on October 19, 2023 (Dkt. 5).

1.2 On November 13, 2023, Respondents filed their Response (Dkt. 6), which Petitioner was not able to personally review as
the BOP packaged his property in preparation for a flight. Petitioner was redesignated to a different institution within 24 hours of
receiving the Response in the mail and accordingly, filed a Motion to Extend Time (Dkt. 8).

1.3. Since then, Petitioner has encountered significant difficulties communicating with the Court, BOP staff and individuals
who had been assisting him with obtaining his FSA credits from the BOP.

1.4. Petitioner respectfully requests, on an ex parte basis, that a Public Defender or CJA panel attorney be appointed to
represent him pursuant to 18 U.S.C. Sec. 3006A. Petitioner has not had an opportunity to personally review subsequent filings
in this action and has only seen the docket. Petitioner is being assisted in the preparation of this pleading and files the reply
herein to comply with the Court's Order of February 7, 2024 (Dkt. 14).

ll. © THIS COURT SHOULD GRANT PETITIONER'S HABEAS RELIEF ON THE MERITS

2.1 On information and belief, Respondents represent to the Court that Petitioner should not receive FSA credits for failing to
exhaust administrative remedies and/or lack of entitlement on the merits and/or for want of jurisdiction due to the BOPs transfer
of Petitioner from Washington to Florida after Petitioner filed the instant action. Petitioner objects to Respondents’ Responses
(Dkt. 6, 9) in their entirety.

2.2 Petitioner respectfully requests appointment of Counsel to more thoroughly reply to Respondents’ Responses (Dkt. 6, 9).

lil. THIS COURT HAS SUBJECT MATTER JURISDICTION AND A TRANSFER WOULD HINDER RELIEF ON THE
MERITS

3.1. This Court should assign counsel to represent Petitioner in this matter, and after more thorough briefing, should grant
Petitioner's requested relief on the merits of his petition. All the events leading up to the filing of this action occured within the
jurisdiction of this Court. Just because Respondents unexpectedly transfered Petitioner to another facility does not mean this
Court lacks jurisdiction to grant Petitioner.relief on the merits.

3.2 Alternatively, if this Court believes this action must be transfered to another jursidiction, Petitioner respectfully requests
that he be represented by counsel licensed to practice in the State of Florida at all stages of subsequent proceedings.

IV. PETITIONER'S OBJECTIONS TO THE COURT'S REPORT AND RECOMMENDATION (Dkt. 12)
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4.1 The Magistrate's Report and Recommendation concludes "Petitioner's request for habeas relief is not ripe" (Dkt. 12) and,
on information and belief, the conclusion is based upon Respondents' representations to the Court that Petitioner has not
exhausted his administrative remedies as a requisite to petitioning the Court for relief. Petitioner has exhausted his
administrative remedies and has not received a response to his BP-11 submitted prior to filing the instant action. Petitioner has
attempted to exhaust his administrative remedies and any record of such would be maintained by individuals at FDC SeaTac,
the Western Regional Office BOP and Central Office of General Counsel BOP such that this Court must retain jurisdiction over
this action.

4.2 Petitioner is entitled to FSA credits on the exact same grounds as a previous case in this Court (see Espinoza v. Barron,

No. 2:23-CV-00967-JHC-TLF). The BOP has refused to acknowledge that Petitioner is FSA eligible and has withheld FSA
credits and program opportunities such that the manner in which Petitioner's sentence is being executed is unconstitutional.

V. PRAYER

5.1 Wherefore, premises considered, Petitioner respectfully requests that his ex parte motion for appointment of counsel be
granted, that he be granted his FSA credits, and that he receive ang (further relief to which he may be entitled.

DATE: February 28, 2024

Respectfully submi

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JASMIN JETTA TAPIA

by permission)
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-—-- Parvis, Shamsi on 2/16/2024 10:51 PM wrote:

10/04/2023 2 Notice of Filing Deficiency re 1 Proposed Document(s). ***Action Required***

2241/2254 Filing Fee Not Paid, Prison Trust Account Statement.

See attached letter for more information and instructions. Filer has until 11/3/2023 to correct IFP application (cc: Letter and IFP
form to petitioner via USPS) (CR) (Entered: 10/04/2023)

10/12/2023 Deficiency corrected. Filing fee received. (CR) (Entered: 10/12/2023)

10/12/2023 FILING FEE RECEIVED: $ 5.00, receipt number 200003188 (CR) (Entered: 10/12/2023)

10/12/2023 3 2241 PETITION for Writ of Habeas Corpus filed by Jasmin Jetta Tapia. (Attachments: # 1 Civil Cover
Sheet) (CR) (Entered: 10/12/2023)

10/12/2023 4 ORDER DIRECTING SERVICE OF 3 2241 PETITION, RETURN AND BRIEFING by Hon. Brian A
Tsuchida. Documents served electronically to U.S. Attorney for the Western District of Washington on 10/12/2023. (CR) (cc:
Petitioner via USPS) (Entered: 10/12/2023)

10/19/2023 5 NOTICE of Appearance by attorney Lyndsie Rebecca Schmalz on behalf of Respondents Howard C
Barron, Colette S Peters. (Schmalz, Lyndsie) (Entered: 10/19/2023)

11/13/2023 6 RESPONSE to 3 Petition for Writ of Habeas Corpus by Respondents Howard C Barron, Colette S
Peters. Noting Date 1/12/2024 12/1/2023 11/24/2023, (Schmalz, Lyndsie) Modified noting date on 11/27/2023 (SB). Modified
noting date on 12/4/2023 (SB). (Entered: 11/13/2023)

11/13/2023 7 DECLARATION of Danielle Rogowski filed by Respondents Howard C Barron, Colette S Peters re 6
RESPONSE to 3 Petition for Writ of Habeas Corpus by Respondents Howard C Barron, Colette S Peters. (Attachments: # 1
Exhibit 1, #2 Exhibit 2)(Schmalz, Lyndsie) (Entered: 11/13/2023)

11/21/2023 8 MOTION for Extension of Time to File Responsive Pleadings, filed by Petitioner Jasmin Jetta Tapia.
(SB) (Entered: 11/22/2023)
11/27/2023 Noting Date Set/Reset re 6 RESPONSE to 3 Petition for Writ of Habeas Corpus, Petitioner's 8

MOTION for Extension of Time. Dkt. no. 6 noted by clerk for 12/8/2023, dkt. no. 8 noted by clerk for 12/1/2023. (SB) (Entered:
11/27/2023)

12/01/2023 9 RESPONSE, by Respondents Howard C Barron, Colette S Peters, to 8 MOTION for Extension of Time.
(Schmalz, Lyndsie) (Entered: 12/01/2023)

12/04/2023 10 ORDER granting Petitioner's 8 Motion for Extension to Respond and Renoting the Matter. Any
response Petitioner wished to file shall be filed no later than 1/5/2024. Any reply the United States wishes to file shall be filed no
later than 1/10/2024. The clerk shall note the § 2241 habeas petition and the United States' Response, Dkt. 6 , and the United
States' request for dismissal or transfer, Dkt. 9 , for 1/12/2024. The Court directs Respondent, the United States, to provide the
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clerk of court with an updated mailing address for Petitioner. Signed by Hon. Brian A Tsuchida. (SB) (ce: Petitioner via USPS)
(Entered: 12/04/2023)

01/10/2024 11 REPLY by Respondents Howard C Barron, Colette S Peters to 10 Order on Motion for Extension of
Time,,, Set Motion and R&R Deadlines/Hearings,,, Util - Set/Reset Motion Noting Date,, (Schmalz, Lyndsie) (Entered:
01/10/2024)

01/12/2024 12 REPORT AND RECOMMENDATION re 3 Petition for Writ of Habeas Corpus. The Court concludes
Petitioner's request for habeas relief is not ripe, and the petition should therefore be DENIED and DISMISSED without .
prejudice. Objections to R&R due by 1/30/2024. The matter will be ready for the Court's consideration 14 days from the date the
objection is filed and served. Signed by Hon. Brian A Tsuchida. (Attachments: # 1 Proposed Order, # 2 Proposed Judgment)
(SB) (cc: Petitioner via USPS) Modified on 2/7/2024 to re-note for-3/1/2024 per 14 Order entered 2/7/2024(SB). (Entered:
01/12/2024)

01/16/2024 13 MOTION for Extension of Time, filed by Petitioner Jasmin Jetta Tapia. (SB) (Entered: 01/18/2024)

02/07/2024 14 ORDER granting Plaintiffs 13 Motion for Extension of Time. On or before 2/28/2024, Petitioner is
directed to file: (a) any response to the United States’ Response that her § 2241 habeas petition be denied on the merits (Dkt.
6 ), (b) any response to the United States’ subsequent request that the Court either dismiss the matter for lack of jurisdiction or
transfer the matter to the federal jurisdiction in which Petitioner is currently detained (Dkt. 9 ), and (c) any objection to the
Court's Report and Recommendation (Dkt. 12 ). The Clerk is directed to re-note the Report and Recommendation (Dkt. 12 ) to
3/1/2024. Signed by Hon. Brian A Tsuchida. (SB) (cc: Plaintiff via USPS) (Entered: 02/07/2024)
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FROM: 54652509

TO: Parvis, Shamsi

SUBJECT: RE: Re: Jetta
DATE: 02/28/2024 01:21:33 PM
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